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UNITED STA TES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastem Division

ijice of the Clerk
Thomas M. Gould, Clerk Deputy-in-Charge
242 Federal Building U. S. Courthouse, Room 262
1 6 7 N. Main Street 111 Sourh Highland Aven ue
Memphis, Tennessee 38103 Jackson, Tennessee 3830]
(901) 495-1200 (731) 42]~9200

 

NOTICE OF SETTING
Before Judge J ames D. Todd, Chief United States District Judge

 

August 24, 2005

RE: 1:03-cr-10068-01-T
USA v. PHILLIP L. HA YS

Dear Sir/Madam:

A(n) RE-SENTENCING HEAR]NG has been SET before Judge James D. Todd on
FRIDAY, OCTOBER 21, 2005 at 8:30 A.M. in Courtroom 432, 4“‘ floor of the U.S.

Courthouse, Jackson, Tennessee.

As to defendants on bond, failure to appear Without leave of court will result in a forfeiture
of appearance bond and issuance of a Warrant for arrest.

If you have any questions, please contact the case manager at the number provided below.

Sincerely,
THOMAS M. GOULD, CLERK

BY: ZW%J CX/;MM
Evelyn Che irs, Case Manager

731-421-9207

48

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case l:03-CR-10068 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

